EXHIBIT B
P.O. BOX 51850
LIVONIA MI 48151-5850
RETURN SERVICE REQUESTED


TDTFTFFFFAADFADADDTADFDFDTADATTDTFFDADAADFDDADTTFTFTTTDFDATDTDFAF
S-SFRECS20 L-10-M R-101
PB4V3801Z00094 - 597052545 I01025
GREGG CARDIN
4928 W CARMEN AVE
CHICAGO IL 60630-2424
           P.O. Box 10826                           Phone: 800-365-7107                           Hours of operation
           Greenville, SC 29603-0826                 Fax: 866-467-1137                            Mon - Thur: 8:00AM-10:00PM
                                                   www.shellpointmtg.com                          Fri: 8:00AM-10:00PM
                                                                                                  Sat: 8:00AM-3:00PM
November 12, 2019

GREGG CARDIN                                                    Account Number:
4928 W CARMEN AVE                                               Principal Balance: $191,312.39
CHICAGO IL 60630                                                Property Address: 1550 S BLUE ISLAND AVE UNIT
                                                                                   CHICAGO, IL 60608
Dear Homeowner:
Shellpoint Mortgage Servicing (“Shellpoint”) welcomes you! We’re pleased that the owner of your mortgage loan has
entrusted us to service your account.
The servicing of your mortgage is being transferred. Effective 11/01/2019, the servicing of your mortgage loan
(collecting payments, paying taxes and insurance, etc.) transfers from Ditech to Shellpoint.

The convenience of autowithdrawal. ACH/autowithdrawal arrangements you made with your previous servicer
transferred to Shellpoint. Your payments will continue to be drafted from your checking or savings account.
Making your payments. Starting on 11/01/2019, make your mortgage payments payable to Shellpoint Mortgage
Servicing at the address shown on the attached payment coupon. Your prior servicer, Ditech, will stop accepting
payments on 11/01/2019. Shellpoint will start accepting mortgage payments on 11/01/2019. Please use the attached
coupon to mail us a check for your first payment. Starting with your next payment, we will send you regular
monthly statements that include payment coupons.
Other payment options. Don’t want to write monthly checks? Our other payment options include:
• Free automatic withdrawal from your bank account (also called “ACH”).
• Online payments (via our website).
• Pay by phone (using either our automated phone system or by speaking with a live Customer Care representative).




          SEE REVERSE SIDE OR ATTACHED FOR AN IMPORTANT STATEMENT OF YOUR RIGHTS.
           L-10-M
                                       "   Detach Temporary Payment Coupon And Return With Payment "




                    PAYMENT COUPON
    GREGG CARDIN
    4928 W CARMEN AVE
    CHICAGO IL 60630                                                        Enter the amount enclosed, and mail your
                Loan Number                                                 payment check with this coupon to:
      First Payment Due Date:     12/01/2019
     Monthly Payment Amount       $ 1,205.23                                TTFAFDTTDDATAFFFFDTDAAATADDAFADTDADDTADTAAADTTFFFAFADTDDAADDADFFD
           Amount Enclosed:       $                                         SHELLPOINT MORTGAGE SERVICING
                                                                            P.O. BOX 740039
                                                                            CINCINNATI, OH 45274-0039
Shellpoint Welcome Package, page 2                                                          Shellpoint Loan ID:

Manage your mortgage online. To help you manage your mortgage account, we’ve created a set of easy-to-use online
tools. Just use your computer, tablet, or phone to visit our website at www.shellpointmtg.com. If you haven’t already
done so, select the Setup Your Account option from the Tools menu and create an account with us. After you’ve set up
your account, you can make payments, view and print statements, get answers to common questions, chat with a live
representative, and more.

Call us if you need to at 800-365-7107. Our automated phone system gives you 24-hour access to your account, so
you can make payments, check payment status, get answers to common questions, and access a wide range of account
information. If you need to speak with someone, our Customer Care Team is available Monday through Friday
8:00AM-10:00PM, and Saturday 8:00AM-3:00PM EST.

Were you working on a loss mitigation plan? If you were engaged in a loss mitigation plan or evaluation with your
previous servicer – or if you applied for such a plan – please call us right away. Dial 866-825-2174 so we can make sure
your plan information has been properly transferred to us. If necessary, we will contact your previous servicer to obtain
missing documents.

¿Hablas Español? Esta carta contiene información importante sobre su préstamo hipotecario. Si usted no entiende el
contenido de esta carta, por favor contacte a uno de nuestros representantes que hablan Español al numero
800-365-7107.

Welcome to Shellpoint! We look forward to serving you, and we’re committed to providing you with an excellent
mortgage-servicing experience.
Sincerely,
Customer Care Team
Shellpoint Mortgage Servicing
P.O. Box 10826
Greenville, SC 29603-0826
800-365-7107
Shellpoint Welcome Package, page 3                                                               Shellpoint Loan ID:




                  Helping You Manage Your Mortgage
Please review the following important information regarding your loan payments. Our records indicate that your 12/01/2019
payment is due. As of the date of this letter, the principal balance is $191,312.39 and your escrow balance is $-1,487.72. You will
receive a billing statement from Shellpoint each month. Effective 11/01/2019, please begin sending your mortgage payments to
Shellpoint using one of the options below.


                    Easy Ways to Pay                                                   Loan Information

                                                                    To help simplify the management of your mortgage, we
                                                                           have provided the following information.
FREE Automatic Withdrawal (ACH): Sign up online at
www.shellpointmtg.com. Our ACH options are:                                         Terms of Your Mortgage
   • Monthly – Choose your date (1st - 15th)
                                                                    Loan Number
   • Bi-weekly – Draft half every other Monday
                                                                    Loan Origination Date             12/16/2014
                                                                    Original Loan Amount              $210,500.00
Online: You can make one-time payments using our
                                                                    Current Interest Rate             4.75%
website when you sign up at www.shellpointmtg.com.
                                                                    Term                              360 months
                                                                    Maturity Date                     01/01/2045
Mail:
               Shellpoint Mortgage Servicing                                            Current Balances
                     P.O. Box 740039
                Cincinnati, OH 45274-0039                           Principal Balance                 $191,312.39
                                                                    Escrow Balance                    $-1,487.72

                                                                                         Payment Details
Phone: You can make payments over the phone using                   Contractual Due Date              12/01/2019
our automated system or with a Customer Care
representative at 800-365-7107.                                     Principal and Interest            $1,098.07
                                                                    Escrow                            $107.16
                                                                    Total Monthly Payment             $1,205.23




                                                  Reach Out to Us

            Call                                     Live Chat                                      Secure Email
            800-365-7107                             www.shellpointmtg.com                          www.shellpointmtg.com
Shellpoint Welcome Package, page 4                                                         Shellpoint Loan ID:


                                                        FAQs
                                                        The date that your previous servicer will stop
                                                        accepting payments from you is 10/31/2019. We will
    Will my previous servicer still accept my payments?
                                                        begin accepting payments from you on 11/01/2019.
                                                        Please send all payments due on or after that date.
                                                               Your previous servicer will forward your payment to
    What if I make a payment to my previous servicer?
                                                               us and it will be applied towards the date due.
                                                               You can pay by check, online, with a Customer Care
                                                               representative, through our automated IVR (phone
    How can I make payments to you?
                                                               system), wire transfer, or by setting up a monthly or
                                                               bi-weekly ACH.
                                                               Continue to make your payments during the first 60
                                                               days of transfer. During the first 60 days we will not
    What if my payment is due during this transfer?
                                                               treat your payments as late and will not apply late
                                                               fees.
                                                               No. The terms of your mortgage are not affected by
    Will the terms of my mortgage loan be affected by
                                                               this transfer, other than those directly related to the
    this servicing transfer?
                                                               servicing of your loan.
                                                               This letter refers only to loan number               If
                                                               more than one loan is transferring to Shellpoint, we
                                                               will send you a Welcome Letter and information for
    What if I have more than one loan?
                                                               each loan. When making payments, please send the
                                                               correct loan amounts separately, referencing each
                                                               account.

Except in limited circumstances, the law requires your present servicer to send notice at least 15 days before the
effective date of transfer or at closing. Your new servicer must also send you this notice no later than 15 days after the
effective date or transfer date or at closing. The assignment, sale or transfer of the servicing of the mortgage loan does
not affect any term or condition of the mortgage, other than the terms directly related to the servicing of your loan (e.g.
payments and inquiries).
If you pay by check, you are authorizing Shellpoint Mortgage Servicing to use the check information to make a one-time
electronic debit for each check presented from the account at the financial institution designated on the check. This
electronic debit will be for the exact amount indicated on the check.
By January 31 of each year, Shellpoint Mortgage Servicing provides an Annual Tax and Interest Statement for IRS
reporting on the portion of the previous year that Shellpoint Mortgage Servicing serviced your loan. If your loan is
currently escrowed for taxes and/or insurance, Shellpoint Mortgage Servicing is required by law to analyze your loan.
Shellpoint Mortgage Servicing will notify you in writing if your payment amount changes.
Premiums for mortgage life, accidental death or disability insurance will not be transferred from your previous servicer.
You may contact your carrier for arrangements to maintain your coverage through direct billing. Please contact your
previous servicer if you are unsure of your carrier’s name.
You should also be aware of the following information, which is explained in more detail in Section 6 and Section 12 of
the Real Estate Settlement Procedures Act (RESPA) (12 USC 2605, 12 CFR Sections 1024.35 and 1024.36).
RESPA Section 6 and Section 12 give you certain consumer rights. If you send a “qualified written request” to your loan
servicer concerning the servicing of your loan, your servicer must provide you with a written acknowledgment within five
(5) business days of receiving your request. A “qualified written request” is a written correspondence—other than writing
on a payment coupon or other payment-related documents supplied by your servicer—that includes your name, account
number, and reasons for the request. Send all qualified written requests to Shellpoint Mortgage Servicing, P.O. Box
10826, Greenville, SC 29603-0826; or you can call 800-365-7107.
No later than thirty (30) days (not including weekends and legal public holidays) after receiving your request, your
servicer must make any appropriate corrections to your account and must provide you with a written clarification
regarding any dispute. During this 30-day period, your servicer may not provide information to a consumer-reporting
agency concerning any overdue payment related to the 30-day period or your qualified written request. However, the
servicer may still begin foreclosure proceedings if proper grounds exist under the mortgage documents.
A “business day” is a day on which the offices of the business are open to the public for carrying on substantially all of its
business functions.
Section 6 of RESPA also provides for damages and costs for individuals or classes of individuals if servicers are shown
to have violated the requirements of that Section. Seek legal advice if you believe your rights have been violated.
If you have any questions for your previous servicer, Ditech, about your mortgage loan or this transfer, please contact
their Customer Service department:
                                                          Ditech
                                                      PO Box 15009
                                                     Tempe, AZ 85284
                                                      (800) 643-0202
                              Please read the following important notices as they may affect your rights.
NewRez LLC dba Shellpoint Mortgage Servicing is a debt collector. This is an attempt to collect a debt and any information obtained will
be used for that purpose. NewRez LLC dba Shellpoint Mortgage Servicing’s NMLS ID is 3013.
If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice
is to advise you of the status of your mortgage loan. This notice constitutes neither a demand for payment nor a notice of personal liability
to any recipient hereof, who might have received a discharge of such debt in accordance with applicable bankruptcy laws or who might be
subject to the automatic stay of Section 362 of the United States Bankruptcy Code. However, it may be a notice of possible enforcement of
the lien against the collateral property, which has not been discharged in your bankruptcy.
Attention Servicemembers and Dependents: The federal Servicemembers Civil Relief Act and certain state laws provide important
protections for you, including interest rate protections and prohibiting foreclosure under most circumstances during and twelve months
after the servicemember’s military or other service. Counseling for covered servicemembers is available from Military OneSource
(800-342-9647) and the United States Armed Forces Legal Assistance or other similar agencies. For more information, please visit the
Military OneSource website www.militaryonesource.mil/.
Notice of Error or Information Request Address: You have certain rights under Federal law related to resolving errors in the servicing
of your loan and requesting information about your loan. If you want to request information about your loan or if you believe an error has
occurred in the servicing of your loan and would like to submit an Error Resolution or Informational Request, please write to us at the
following address: Shellpoint Mortgage Servicing P.O. Box 10826 Greenville, SC 29603-0826
A successor in interest is someone who acquires an ownership interest in a property secured by a mortgage loan by transfer upon the death of a
relative, as a result of a divorce or legal separation, through certain trusts, between spouses, from a parent to a child, or when a borrower who
is a joint tenant or tenant by the entirety dies. If you are a successor in interest, or you think you might be, please contact by phone, mail or
email to start the confirmation process.
Our system of record has your preferred language as English.
If you prefer to receive communication in a language other than English, please contact us at 800-365-7107 to speak with a translator
in your preferred language about the servicing of your loan or a document you received.
Si prefiere recibir las comunicaciones en otro idioma que no sea el inglés, por favor, contáctenos en el 800-365-7107 para hablar con un
traductor en el idioma de su preferencia sobre la gestión de su préstamo o cualquier documento que haya recibido.
                                                                             800-365-7107,


Please note that we operate as NewRez Mortgage LLC dba Shellpoint Mortgage Servicing in Arkansas and Texas.
Illinois
The primary regulatory authority having jurisdiction over the residential lending activities of Shellpoint Mortgage Servicing is the Federal
Trade Commission. Their information is below:
                                                          Federal Trade Commission
                                                          600 Pennsylvania Ave., NW
                                                            Washington, DC 20580
Illinois
La autoridad competente de regulación primaria sobre las actividades de préstamos residenciales de Shellpoint Mortgage Servicing es la
Comisión Federal de Comercio. La información es a continuación:
                                                          Federal Trade Commission
                                                          600 Pennsylvania Ave., NW
                                                            Washington, DC 20580
                                                               FEE SCHEDULE

    The following list provides general information on common non-state specific costs that could be associated with servicing your
      mortgage loan. It is not a complete list of all costs that could be assessed to such an account. This schedule is provided for
                                                        informational purposes only.


        Type of Fee                                               Description                                             From         To1

      Late Charge Fee        Assessed for payments received after the due date and expiration of any applicable grace           Up to 5%1
                                                                     period
NSF or Returned Check           Fee assessed when a payment is rejected by your bank upon second presentment               $0         $501
         Fee
  Prepayment Fee                 A fee that may be required, based on your loan documents, if you prepay the loan     See Loan Documents2
 Property Valuation Fee Fee charged if we are required to determine the condition and value of your home; may be        $80       $450
                                 in the form of a Broker Price Opinion, appraisal, or other Valuation of Property
 Property Inspection Fee            Fee charged if we are required to determine the condition of your property           $0        $50
       Appraisal Fee         Fee charge to conduct an appraisal of fair market value based on an inspection of the      $95      $1,000
                                                       interior and/or exterior of a property.
  Property Preservation   If the property is vacant and/or abandoned services may be provided to treat and prevent       $5      $3,000
             Fee                                   damages to the property per service needed
       Field Visit Fee    Fee charged if we are required to send a field agent to deliver a notice and determine the    $40        $60
                                                         occupancy status of the property
    Partial Release Fee   Fee charged for preparing the documents to modify the outstanding lien on your property        $0       $250
     Lien Release Fee       Fee charged at payoff for preparing the documents to release the lien on your property       $0       $100
      Recording Fee           Fee charged by the county clerk to record the release or satisfaction of lien at payoff    $0      $1003
    Subordination Fee                Charge for making a lien on a property subject or junior to a priority lien         $0       $300
    Breach Letter Fees                    Fee charged to send letters because of a default on your loan                  $0        $35
   Bankruptcy Fees and       Fee charged once a bankruptcy is filed, attorney costs may be incurred as part of the       $0      $2,000
            Costs                                     bankruptcy process per action needed
Litigation Fees and Costs                  Fee charged as a result of litigating a claim against borrower              $350     $20,000
Attorney Fees and Costs                     Fee charges to compensate attorney for services rendered                    $30     $35,000
     The frequency of the costs will depend on how often services are requested or required, your payment status, and both investor and legal
                                                                  requirements.

The fees below will be imposed for services you request. You will be asked to agree to pay these charges at the time you request the service.

       Type of Fee                                                  Description                                           From         To1
     Convenience Fee              Fee charged for making a payment by phone with an agent or over the internet             $0          $10
    Loan Document Fee         Fee charged for documentation that is an over burdensome volume of document copy             $0       $5 per doc
                                                            request for loan documents.
Deed of Trust Copy Fee                       Fee charged for a copy of the Deed of Trust or Mortgage                       $0          $8
Amortization Schedule        Fee charged for a copy of the Amortization Schedule. (Please note that we are unable to       $0          $10
                              provide an amortization schedule on daily simple interest loans and option ARM loans)
       Recasting Fee          Fee charged for recasting (or re-amortize) the loan after an additional sum of money to      $0         $300
                                     substantially reduce the UPB of the loan and lower the monthly payment
    3rd Party Verification               Fee charged to provide a verification of mortgage to a third party                $0          $10
             Fee
      Title Search Fee                   Fee charged as a result of performing a title search                             $125        $150
    Expedited Payoff Fee
                       An expedited payoff service fee is charged for receiving a written payoff demand by fax or          $0          $60
                        other expedited means, if allowable by state law. Standard payoff statements via USPS
                                                   standard mail will not incur a fee.
Expedited Document Fee Charged when a document is prepared and sent via fax or certified mail to the borrower or           $0          $10
                                                       an authorized third party.
1   The maximum fee allowable varies according to state law and will not exceed state allowable limits.
2The prepayment fee, if applicable, is dictated by state law, is usually calculated based on a percentage of your loan amount, and can vary
widely. Accordingly, a more accurate prepayment fee estimate can be found in your loan documents.
3 Recording fees vary by state and county. Shellpoint will follow the fee schedule, adopted by the county and state you reside in, which applies
to your loan.
                                                                                                                 Rev. December-2017




FACTS            WHAT DOES SHELLPOINT MORTGAGE SERVICING DO WITH YOUR
                 PERSONAL INFORMATION?

WHY?             Financial companies choose how they share your personal information. Federal law gives consumers the right to
                 limit some but not all sharing. Federal law also requires us to tell you how we collect, share, and protect your
                 personal information. Please read this notice carefully to understand what we do.

WHAT?            The types of personal information we collect and share depend on the product or service you have with us. This
                 information can include:
                      • Social Security number and income
                      • credit history and credit scores
                      • account balances and payment history

HOW?             All financial companies need to share customers' personal information to run their everyday business. In the
                 section below, we list the reasons financial companies can share their customers' personal information; the
                 reasons Shellpoint Mortgage Servicing chooses to share; and whether you can limit this sharing.

                                                                            Does Shellpoint Mortgage         Can you limit this
Reasons we can share your personal information
                                                                                Servicing share?                 sharing?
For our everyday business purposes -
such as to process your transactions, maintain your account(s), respond                Yes                           No
to court orders and legal investigations, or report to credit bureaus
For our marketing purposes -
                                                                                       Yes                           No
to offer our products and services to you
For joint marketing with other financial companies                                      No                    We do not share
For our affiliates' everyday business purposes -
                                                                                        No                    We do not share
information about your transactions and experiences
For our affiliates' everyday business purposes -
                                                                                        No                    We do not share
information about your creditworthiness
For our affiliates to market to you                                                     No                    We do not share
For nonaffiliates to market to you                                                      No                    We do not share

Questions?           Call toll-free 800-365-7107 or visit to www.shellpointmtg.com
PAGE 2


 What we do
 How does Shellpoint Mortgage Servicing     To protect your personal information from unauthorized access and use, we use
 protect my personal information?           security measures that comply with federal law. These measures include computer
                                            safeguards and secured files and buildings.
 How does Shellpoint Mortgage Servicing     We collect your personal information, for example, when you
 collect my personal information?                 • apply for a loan or give us your income information
                                                  • provide account information or provide employment information
                                                  • show your driver's license
                                            We also collect your personal information from others, such as credit bureaus,
                                            affiliates, or other companies.
 Why can't I limit all sharing?             Federal law gives you the right to limit only
                                                • sharing for affiliates' everyday business purposes - information about your
                                                     creditworthiness
                                                • affiliates from using your information to market to you
                                                • sharing for nonaffiliates to market to you
                                            State laws and individual companies may give you additional rights to limit sharing.

 Definitions
 Affiliates                                 Companies related by common ownership or control. They can be financial and
                                            nonfinancial companies. Our affiliates include:
                                                • NewRez LLC
                                                • Shellpoint Partners, LLC
                                                • Avenue 365 Lender Services, LLC
                                                • Rate 30
                                                • eStreet Appraisal Management Company
 Nonaffiliates                              Companies not related by common ownership or control. They can be financial and
                                            nonfinancial companies.
                                                • We do not share your information with nonaffiliates
 Joint marketing                            A formal agreement between nonaffiliated financial companies that together market
                                            financial products or services to you.
                                                • We do not have any joint marketing agreements with nonaffiliated
                                                     companies

 Other important information
 Shellpoint Mortgage Servicing is a division of NewRez LLC
 Shellpoint Mortgage Servicing                                                                    Toll Free Phone:800-365-7107
 P.O. Box 10826                                                                                     Toll Free Fax: 866-467-1137
 Greenville, SC 29603-0826                                                            Contact us online: www.shellpointmtg.com

 Main Office NMLS ID#3013                                                       Hours: Monday - Friday: 8:00AM-10:00PM EST
 Houston TX Branch Office NMLS                                                                Saturday: 8:00AM-3:00PM EST
 ID#1105392
This privacy notice was provided to our customer with account number              on 11/12/2019.
